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 1   Daniel P. Struck, Bar No. 012377
     Rachel Love, Bar No. 019881
 2   Timothy J. Bojanowski, Bar No. 022126
     Nicholas D. Acedo, Bar No. 021644
 3   STRUCK LOVE BOJANOWSKI & ACEDO, PLC
     3100 West Ray Road, Suite 300
 4   Chandler, Arizona 85226
     Telephone: (480) 420-1600
 5   Fax: (480) 420-1695
     dstruck@strucklove.com
 6   rlove@strucklove.com
     tbojanowski@strucklove.com
 7   nacedo@strucklove.com
 8   Attorneys for Defendants
 9
                              UNITED STATES DISTRICT COURT
10
                                    DISTRICT OF ARIZONA
11
     Shawn Jensen, et al.,                              NO. CV-12-00601-PHX-ROS
12
                                          Plaintiffs,
13                 v.                                   DEFENDANTS’ STATUS REPORT
                                                         PURSUANT TO COURT ORDER
14   Ryan Thornell, et al.,                                     (Dkt. 4449)
15                                      Defendants.
16
17          Pursuant to the Court’s July 31, 2023, Order (Dkt. 4449), Defendants submit the
18
     following status report. ADCRR’s new leadership also reaffirms its initiative to rebuild
19
     ADCRR with a central emphasis on the health and well-being of everyone in its custody,
20
21   and its specific commitment to comply with all aspects of the Permanent Injunction.

22      1. Do the entities operating the private facilities, as well as those entities’
           employees, qualify as Defendants’ “agents, servants, employees,” or as “other
23
           persons who are in active concert or participation” with Defendants or
24         Defendants’ “agents, servants, [or] employees” for purposes of the Permanent
           Injunction? Fed. R. Civ. P. 65(d). If the private entities and their employees are
25         not covered by the language of Rule 65(d), why not?
26
            Entities operating the private facilities as well as those entities’ employees do not
27
     qualify as Defendants’ “agents, servants, employees,” or as “other persons who are in active
28
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 1   concert or participation” with Defendants’ “agents, servants, or employees for purposes of
 2
     the Permanent Injunction. Since the inception of this case, beginning with Plaintiffs’
 3
     Complaint, through class certification, the Stipulation, trial, and the court’s Findings of Fact
 4
 5   and Conclusions of Law, the Class and their claims have been limited to the policies and

 6   practices at the 10 state-operated facilities.
 7
            The Complaint expressly limited the Class and Class claims to the 10 state-operated
 8
     facilities. See Dkt. 1 at 57 n.3 (“This proposed class does not include the approximately
 9
10   6,400 Arizona prisoners housed in private for-profit prisons pursuant to contracts with

11   ADC.”).
12
            In certifying the Class, the district court certified a Class consisting only of
13
     individuals incarcerated at the 10 state-operated facilities based on evidence of alleged
14
15   practices at only those facilities. 1 (See Dkt. 372 at 1 [“ADC currently incarcerates

16   approximately 33,000 inmates in ten complexes statewide: Douglas, Eyman, Florence,
17
     Lewis, Perryville, Phoenix, Safford, Tucson, Winslow, and Yuma.”]; id. at 7 [“All twenty
18
     deficiencies were identified at all ten ADC complexes.”]; id. at 13 [“Plaintiffs’ claim is that
19
20   despite ADC stated policies, the actual provision of health care in its prison complexes

21   suffers from systemic deficiencies that rise to the level of deliberate indifference.”]; id. at
22
23
            1
              The district court could only certify the Class proposed in the Complaint, not
     anything broader. See Reyes v. Educ. Credit Mgmt. Corp., 322 F.R.D. 552, 559 (S.D. Cal.
24   2017), vacated and remanded on other grounds, 773 F. App’x 989 (9th Cir. 2019) (“The
     Court is bound to class definitions provided in the complaint and, absent an amended
25   complaint, will not consider certification beyond it.”) (quoting Costelo v. Chertoff, 258
     F.R.D. 600, 604–05 (C.D. Cal. 2009)); accord Owino v. CoreCivic, Inc., No. 17-CV-1112
26   JLS (NLS), 2020 WL 1550218, at *7 (S.D. Cal. Apr. 1, 2020) (“Generally, a plaintiff may
     only seek to certify a class as defined in a complaint—courts will not certify classes
27   different from, or broader than, a class alleged in the complaint without plaintiff moving to
     amend the complaint.”) (quoting Richie v. Blue Shield of Cal., No. C-13-2693 EMC, 2014
28   WL 6982943, at *13 (N.D. Cal. Dec. 9, 2014)).

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 1   15 [“Based on Plaintiff’s showing of systemic deficiencies at all ten ADC facilities, the
 2
     Court finds that commonality exists with respect to the allegations in Plaintiff’s Complaint
 3
     that the following practices constitute deliberate indifference to all inmates.”]; Dkt. 242 at
 4
 5   6 n.1 [Plaintiff’s motion for class certification limiting Class to state-operated facilities];

 6   Dkt. 240-1 through Dkt. 241-4 [Plaintiff’s evidence submitted in support of class
 7
     certification].) Indeed, the Class Representatives were incarcerated at only state-operated
 8
     facilities. (Dkt. 1, ¶¶ 6, 19.) And the Ninth Circuit, in affirming class certification,
 9
10   recognized that healthcare at only the 10 state-operated facilities was at issue. See Parsons

11   v. Ryan, 754 F.3d 657, 662 & n.2 (9th Cir. 2014) (“To satisfy the duty imposed by statute
12
     on its director, ADC has promulgated extensive statewide policies governing health care
13
     and conditions of confinement that apply to all of the inmates in its custody, all of its staff,
14
15   and all of its facilities. The ten ADC facilities are Douglas, Eyman, Florence, Lewis,

16   Perryville, Phoenix, Safford/Ft. Grant, Tucson, Winslow, and Yuma.”). It was the alleged
17
     conditions at those facilities that allegedly exposed the Class members to a substantial risk
18
     of harm, and that common contention allowed the Class to be certified. Id. at 678.
19
20          All the discovery in this case was focused on the 10 State-operated facilities (see

21   Dkt. 902, 903, 1027, 1028), and the Court determined that an issue of fact existed as to
22
     whether ADCRR’s “practices” at those facilities “are constitutionally deficient.” (Dkt.
23
     1065 at 8.) The Stipulation and subsequent monitoring were limited to only the 10 state-
24
25   operated facilities. (See Dkt. 1185, Dkt. 1185-1).

26          Finally, the only evidence presented at trial involved healthcare at the 10-state
27   operated facilities. And in its Findings of Fact and Conclusions of Law, the Court found
28

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 1   that: “ADC operates ten prison complexes”; the Class consists of “all prisoners at ADCRR’s
 2
     ten complexes”; “The current contract requires Centurion provide all health services at
 3
     ADCRR’s ten complexes in the state”; “The health services at the ten complexes are
 4
 5   structured the same”; “Prisoners incarcerated in ADCRR’s ten complexes are subject to the

 6   same failed practices, which expose all of them to a substantial risk of serious harm”; and
 7
     the constitutional “issues are pervasive at all 10 ADCRR complexes.” (Dkt. 4335 at 3, 10,
 8
     11, 121, 123.) The Court also refused to consider population numbers at privately operated
 9
10   facilities, finding: “Given that this lawsuit challenges conditions in ADCRR-operated

11   facilities, the population in those facilities will be used.” (Id. at 137; see also id. at 182-186
12
     [appending staffing levels from only 10 State-operated facilities].)
13
                Because the Court only found constitutional violations at the 10 State-operated
14
15   facilities and did not find any constitutional violations at any of the privately operated

16   facilities, its Injunction can only extend and apply to the former. See Parsons, 754 F.3d at
17
     689 n.35 (any injunction ultimately ordered by the Court “must closely track the violations
18
     established by the evidence at trial”); Jordan v. Gardner, 986 F.2d 1521, 1531 (9th Cir.
19
20   1993) (“The district judge ha[s] the power only to correct the constitutional defects that he

21   [or she] [finds].”) (citation omitted); see generally 18 U.S.C. § 3626(a)(1)(A). Although
22
     Rule 65(d) applies to all third-party contractors providing healthcare to individuals residing
23
     at the 10 State-operated facilities, it does not expand the Permanent Injunction to apply
24
25   beyond the claims, evidence, or findings in this case—that is, to any of the privately

26   operated facilities. 2
27
28
            2
                There are now only nine State-operated facilities after ASPC-Florence closed.

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 1      2. How and by whom are transfer decisions either to or from privately-run
           facilities currently made?
 2
 3          Transfer decisions in and out of privately operated facilities are generally made by

 4   ADCRR central office classification in consultation with medical and mental health, as
 5
     necessary. In some cases, transfer requests originate from medical and mental health
 6
     providers. For example, ADCRR’s medical and mental health monitoring bureau may
 7
 8   request movement out of a private facility if the inmate needs a higher level of care such as

 9   an IPC or SNU bed.
10
            Transfer decisions are also based on custody and classification. For example,
11
     inmates are moved out of a private facility if they have been classified to a higher or lower
12
13   custody level and no longer meet the custody level designation for that particular private

14   facility. Inmates are also moved out of private facilities if they request protective custody
15
     or refuse to house. Movement into private facilities is based on the contractual need to keep
16
     private facilities filled along with the overall population bed management needs of the
17
18   department. As discussed in more detail below, when a transfer decision is being made to

19   a privately operated facility, ADCRR ensures that the privately operated facility is able to
20
     provide the necessary services for the individual prior to transfer.
21
            A full-time Physician Assistant serves as ADCRR’s Medical Services Coordinator.
22
23   One of the roles of the Medical Services Coordinator is to ensure that NaphCare is placing

24   appropriate medical holds in patients’ health records to prevent a patient in need of a higher
25
     acuity of care from being moved to a private facility.         ADCRR’s Medical Services
26
     Coordinator works closely to ensure that NaphCare is placing medical holds in patients’
27
28   health records appropriately to prevent the movement of patients to private facilities when


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 1   they shouldn’t be moved.        If movement occurs incorrectly, the Medical Services
 2
     Coordinator works directly with NaphCare to promptly remedy the issue and prevent a
 3
     future occurrence. The Medical Services Coordinator is supervised by ADCRR’s Medical
 4
 5   Director, Dr. Grant Phillips.

 6          There are many safeguards in place to prevent movement from happening when it
 7
     shouldn’t. Prior to a patient being moved from one complex to another, a nurse reviews the
 8
     patient’s chart, and completes a Release Summary and Facility Transfer form. The chart
 9
10   review includes checking for any pending offsite specialty referrals or certain medication

11   treatments (e.g., a course of Hepatitis C treatment), which would disqualify a patient from
12
     moving. In addition, if a patient had any conditions or limitations with their activities of
13
     daily living that should prevent the move, then these are identified, and the transfer does
14
15   not occur. Further, the receiving facility has healthcare staff who review the transfer list in

16   advance of the move to determine if the patient has any condition or referrals which warrant
17
     cancellation of the movement. When the patient arrives at the new facility, verification of
18
     the patients’ health conditions, medication, and special needs takes place. If the receiving
19
20   facility has concerns about the transfer, the Medical Services Coordinator is contacted. If

21   the Medical Services Coordinator concurs that there are issues accommodating the patient
22
     at the new facility, a transfer back to the sending facility occurs. Any questions that
23
     ADCRR Classification may have about whether a patient should be moved to a new facility
24
25   are addressed with the Medical Services Coordinator. The Medical Services Coordinator

26   may conduct a chart review, consult NaphCare clinical leadership, or discuss further with
27   ADCRR’s Medical Director.
28

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 1          On July 27, 2023, ADCRR pulled a list of individuals moved to the Kingman-
 2
     Huachuca Unit after receiving the letter written by Mr. Graybill. (Dkt. 4448). In a sincere
 3
     and concerted effort to increase transparency and as a demonstration of ADCRR’s
 4
 5   commitment to compliance, ADCRR provides the following information regarding the

 6   transfers to Kingman-Huachuca Unit. Between May 10, 2023, and July 26, 2023, 152
 7
     individuals moved into this unit. Two (2) individuals had a medical hold at the time of
 8
     movement, four (4) were SMI, and six (6) had special needs. Of the two (2) individuals
 9
10   with a medical hold at the time of movement, one (1) of the individuals had been moved by

11   mistake and was moved back to a state-run facility on August 2, 2023 (one week later) once
12
     the mistake was realized. The other individual was cleared for transfer after his medical
13
     hold expired. Of the four (4) SMI patients, ADCRR completed a chart review and
14
15   confirmed that ASP Kingman has the appropriate facilities and mental health services to

16   meet these individuals’ needs based upon their documented level of functioning prior to
17
     transfer. Of the six (6) patients with special needs, all six (6) patients are still housed at
18
     Kingman and ADCRR’s Medical Director has confirmed that ASP Kingman has the
19
20   appropriate facilities and medical services to meet the needs of these patients.

21          ADCRR is in the process of re-reviewing all transfers from state complexes to
22
     private facilities since the start of the Permanent Injunction. ADCRR is committed to
23
     maintaining sound processes internally, and with its partners, to ensure that all are
24
25   performing and providing the highest level and quality of care.

26      3. In the parties’ views, do the conditions in the privately-run facilities meet the
           health care and subclass requirements outlined in the Permanent Injunction?
27
28          ADCRR requires the same level of care in the private facilities as it does in the State-


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 1   operated facilities in accordance with individual private contracts. 3 ADCRR does not have
 2
     a two-tiered health system. Private facilities are required to abide by ADCRR’s technical
 3
     manuals, including those for medical services, mental health services, and dental services.
 4
 5   By the end of 2023, all private facilities are anticipated to have TechCare and 340B

 6   Medications to assist with continuity of care. The private facilities have the ability to treat
 7
     patients designated MH-1 to MH-3. There are, however, certain levels of care that are not
 8
     available in the private facilities (e.g., inpatient mental health services, IPC, and SNU care).
 9
10      4. When Defendants transfer prisoners from ADCRR-run facilities to privately-
           run facilities, should the transferred prisoners be viewed as class members
11         while in the private facilities? That is, should the health care requirements set
           out in the Permanent Injunction apply to the health care provided to ADCRR
12
           prisoners housed at private facilities?
13
            For the reasons discussed in response to question number one, a Class member is no
14
     longer a Class member once he is transferred out of a State-operated facility.             The
15
16   Permanent Injunction is a remedy to the constitutional violations found at the 10 State-
17   operated facilities and it does not follow Class members outside of those facilities. To find
18
     otherwise would go beyond the power of the Injunction and the Court’s authority and
19
     violate 18 U.S.C. § 3626. That being said, when prisoners are transferred to a privately
20
21   operated facility, ADCRR requires the same level of care as it does in the State-operated

22   facilities in accordance with individual private prison contracts. Being transferred to a
23
     private facility does not subject prisoners to a lesser standard of care. Many aspects of the
24
     Permanent Injunction are not applicable to the private facilities due to their lower acuity
25
26
27
            3
             The GEO Group operates Central Arizona Correctional Facility, Florence West,
     Kingman, Marana, and Phoenix West. CoreCivic operates La Palma and Red Rock
28   Correctional Center.

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 1   and classification levels; for example, maximum custody prisoners are not housed in
 2
     privately operated facilities. Additionally, inmates in private facilities have administrative
 3
     and legal remedies to address their grievances outside of Jensen v. Thornell.
 4
 5      5. Is Defendants’ discretion in classification and housing prisoners impacted by
           the Permanent Injunction? Are Defendants permitted to transfer high acuity
 6         prisoners to privately-run facilities?
 7          Because maximum custody inmates are not housed in private operated facilities, the
 8
     Permanent Injunction has not impacted classification and housing. Because of the
 9
     Permanent Injunction, ADCRR may transfer fewer patients that require Hepatitis C (HCV)
10
11   treatment or medications for opioid use disorder (MOUD). Patients requiring specialty
12   provider follow up or are otherwise high acuity are placed on a medical hold at the State-
13
     operated facilities which will prevent transfer until consultations have been completed.
14
     ADCRR does not transfer prisoners to “circumvent” compliance with the Permanent
15
16   Injunction.
17      6. Are there subclass members currently housed at privately-run facilities?
18
            No subclass members are transferred to privately operated facilities. ADCRR does
19
     not house maximum custody inmates at any of the private facilities. However, it is possible
20
21   that a prisoner housed at a private facility may end up in Restrictive Housing due to a

22   disciplinary issue, administrative issue, or suicide watch. For those prisoners whose
23
     circumstances require placement in Restrictive Housing after arrival at a private facility,
24
     ADCRR expects that no prisoner will remain in a cell for more than 21.5 hours per day.
25
26   This applies equally to both private and State-operate prisons. Private facilities sometimes

27   house prisoners designated as SMI, but they are not in maximum custody, and consistent
28

                                                    9
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 1   with the amendments to Department Order 804, Inmate Behavior Control, they are not
 2
     placed into detention. If an SMI inmate needs to be removed from the unit due to a request
 3
     for protection, a refusal to house, or for violent behavior, there is a procedure in place to do
 4
 5   so pursuant to DO 804.

 6      7. If there are subclass members at privately-run facilities, how did the parties
           believe the footnote extending the Permanent Injunction to those subclass
 7
           members would be monitored and enforced? Did the parties anticipate the
 8         Court and its monitors would assess the conditions at those facilities and, if
           necessary, order improvements?
 9
            ADCRR does not transfer any member of the Subclass to privately operated
10
11   facilities. As for prisoners housed at privately-operated facilities who may need to be placed
12   into Restrictive housing for disciplinary or safety reasons, the Wardens for each of the
13
     private facilities are expected to comply with DO 804. Additionally, ADCRR has staff
14
     embedded at each private facility to monitor and ensure compliance.
15
16           DATED this 14th day of August, 2023.
17                                                 STRUCK LOVE BOJANOWSKI & ACEDO, PLC
18
19                                                 By /s/ Daniel P. Struck
                                                      Daniel P. Struck
20                                                    Rachel Love
                                                      Timothy J. Bojanowski
21                                                    Nicholas D. Acedo
                                                      3100 West Ray Road, Suite 300
22                                                    Chandler, Arizona 85226
23                                                    Attorneys for Defendants
24
25
26
27
28

                                                    10
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                             phxadmin@azdisabilitylaw.org
 6
     Corene T. Kendrick:     ckendrick@aclu.org
 7
     David Cyrus Fathi:      dfathi@npp-aclu.org; astamm@aclu.org;hkrase@npp-aclu.org
 8
     Donald Specter:         dspecter@prisonlaw.com
 9
     Eunice Cho              ECho@aclu.org
10
     Jared G. Keenan         jkeenan@acluaz.org
11
     Maria V. Morris         mmorris@aclu.org
12
     Maya Abela              mabela@azdisabilitylaw.org
13
     Rita K. Lomio:          rlomio@prisonlaw.com
14
     Rose Daly-Rooney:       rdalyrooney@azdisabilitylaw.org
15
     Sara Norman:            snorman@prisonlaw.com
16
     Sophie Jedeikin Hart    sophieh@prisonlaw.com
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